                          UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )              NO. 2:12-CR-98(11)
                                             )
JOHN FRANKLIN LANDERS                        )


                                             ORDER

       It is hereby ORDERED that defendant’s motions to transport are GRANTED, [Docs. 349, 350,

and 351], and the United States Marshal is ORDERED to transport the following witnesses, who are in

federal custody, to the defendant’s sentencing at 9:00 a.m. on July 17, 2013:

       1. James Scott White, who is set for sentencing on July 19, 2013;

       2. Lindsey Renee Phipps, who was sentenced on June 24, 2013; and

       3. Tristan Allan Brewer, who is set for sentencing on August 21, 2013.


               ENTER:


                                                           s/J. RONNIE GREER
                                                      UNITED STATES DISTRICT JUDGE




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